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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
RICHARD STRYKER,                                  :
                                                            :
                                        Plaintiff,          :
          -against-                                         :              ORDER
                                                            :          16 CV 9424 (JGK) (KNF)
HSBC SECURITIES (USA) INC, HSBC                             :
BANK USA, N.A., ANDREW IRELAND,                             :
DANIEL ANNIELLO, SHALINI GUGLANI                            :
and PETER FOGLIO,                                           :
                                                            :
                                        Defendants.         :
------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         A telephonic conference was held with counsel to the defendants and plaintiff pro se on

November 5, 2020. As a result of the discussion had during the conference, IT IS HEREBY

ORDERED that, consistent with the schedule fixed by the Court during the conference, on or before

December 2, 2020, the parties shall finalize their joint pretrial order and submit it to the court. The

plaintiff’s requests, that the defendants be directed to provide him with the medical records they

tendered to his former counsel and that discovery be reopened, are denied. The defendants shall

provide the plaintiff with legible copies of the documents identified as Bates numbers HSBC 003110-

003128, unless those documents were produced previously to the plaintiff’s former counsel.

Dated: New York, New York                                       SO ORDERED:
       November 5, 2020
